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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MINNESOTA

                            CHANGE OF PLEA HEARING

UNITED STATES OF AMERICA,                               COURTROOM MINUTES - CRIMINAL
                                                            BEFORE: Nancy E. Brasel
                                                                    U.S. District Judge
                       Plaintiff,
                                                    Case No:            22-cr-224 (2) (NEB/TNL)
  v.                                                Date:               September 7, 2023
                                                    Court Reporter:     Renee Rogge
                                                    Courthouse:         Minneapolis
SAHRA MOHAMED NUR,                                  Courtroom:          13W
                                                    Time Commenced:     10:05 a.m.
                                                    Time Concluded:     10:50 a.m.
                       Defendant.                   Time in Court:      45 minutes



APPEARANCES:
 Plaintiff:     Harry Jacobs, Assistant U.S. Attorney
 Defendant:     A.L. Brown and Marcus Almon, Retained Attorneys


PROCEEDINGS:

CHANGE OF PLEA HEARING:

PLEA:
 Guilty as to Counts 1 and 21 of the Indictment.
 Presentence Investigation Report Requested.
 Defendant is released on bond conditions.

Date: September 7, 2023                                   s/Kristine Wegner
                                                          Courtroom Deputy to Judge Nancy E. Brasel
